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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  STATE OF NEW YORK, et al.,
         Plaintiffs,
                 v.                                         Civil Action No. 18-1747 (JDB)
  U.S. DEPARTMENT OF LABOR, et al.,
         Defendants.


                                              ORDER

       Before the Court is [68] the government’s motion to stay filing of a joint appendix in this

action by January 2, 2019, in light of an ongoing lapse in appropriations, and to extend all current

deadlines for the duration of the lapse once the stay is lifted.         Plaintiffs oppose the stay,

emphasizing the need for prompt resolution of this multi-state challenge to a Department of Labor

rule that, they allege, will significantly disrupt state health insurance markets. They argue that this

litigation falls within an exception to the Antideficiency Act that permits government employees

to work during a lapse in appropriations on activities related to “emergencies involving the safety

of human life or the protection of property.” 31 U.S.C. § 1342. All that need be decided now is

when that joint appendix must be filed.

       The Court recognizes and is sympathetic to the impact of the lapse in appropriations on the

government’s operations. But where, as here, there is a “reasonable and articulable connection

between the function to be performed and the safety of human life or the protection of property,”

government functions may continue. 43 Op. Att’y Gen. 293 (Jan. 16, 1981). The Department of

Labor, which remains fully funded, is primarily responsible for compiling the administrative

record. Pursuant to Local Civil Rule 7(n), the only outstanding task for the parties––and hence for

the Department of Justice attorneys impacted by the lapse in appropriations––is to confer and
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attempt to agree on the contents of the joint appendix, which plaintiffs are then responsible for

filing. Accordingly, based on government reports stating that a significant percentage of Civil

Division staff are excepted from the ongoing lapse in appropriations, see U.S. Dep’t of Justice, FY

2019 Contingency Plan at tbl. 2 (Sept. 11, 2018), https://www.justice.gov/jmd/page/file/1015676/

download, and considering the exceptional significance of this litigation for all involved, the Court

concludes that one additional week to prepare the joint appendix will be sufficient.

       For the foregoing reasons, it is hereby

       ORDERED that [68] the government’s motion to stay is DENIED; it is further

       ORDERED that the joint appendix in this action shall be filed by not later than January 9,

       2019; and it is further

       ORDERED that the schedule in this action, including the January 24, 2019, hearing on the

       already-fully-briefed cross-motions for summary judgment will otherwise remain

       unchanged.

       SO ORDERED.

                                                                          /s/
                                                                  JOHN D. BATES
                                                             United States District Judge
Dated: December 28, 2018




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